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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

VS.                                  NO. 4:15-CR-164-05-KGB

JAMES RICE                                                                          DEFENDANT


                              ORDER APPOINTING COUNSEL

       Based upon the completed Affidavit or testimony of Defendant, James Rice, concerning

his financial ability to employ counsel, the Court finds that Defendant cannot afford to hire a

private lawyer, but is entitled to counsel. Accordingly, R. Brannon Sloan, Jr. is appointed to

represent Defendant in all further proceedings in this matter.

       Dated this 5th day of January, 2016.

                                                        /s/ Beth Deere
                                              UNITED STATES MAGISTRATE JUDGE
